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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )                  4:05CR3029
                Plaintiffs,         )
                                    )
          v.                        )
                                    )                     ORDER
ARTHUR E. SHARPLEY, JR.,            )
                                    )
                Defendant.          )
                                    )


     The court has received a letter request from the defendant1
which requests an early termination from probation.               I shall
consider the request as a motion.         I previously denied a similar
request made by the United States Probation Office concerning
co-defendant Michael Curry.       I shall also deny this request for
the same reasons.     One of the principal provisions of the
sentence was to prevent the defendant from hunting for a
considerable length of time.       To terminate the probation early
would remove this important limitation.


     IT THEREFORE HEREBY IS ORDERED,

     The letter request of the defendant Arthur Sharpley, Jr. is
considered as a motion and is denied.

     DATED this 12th day of January, 2007.

                                   BY THE COURT:
                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge


     1
       Defendant was represented by counsel at the time of the
original offense, and the letter appears to be from the defendant
pro se, although it bears no signature. I consider it assuming
that it is from the defendant and that he is no longer
represented.
